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July 11, 2017
VIA FIRST CLASS MAIL

Hon. Susan D. Wigenton, U.S.D.J.

Martin Luther King, Jr. Federal
Building and U.S. Courthouse

50 Walnut Street

Newark, New Jersey 07101

Re: Spina y. Cartagena et al.
Civil Action Number 2:17-cv-01210 (SDW-LDW)

Dear Judge Wigenton:

New York

420 Lexington Avenue
Suite 300-19

New York, NY 10170
office: (646) 205-8038

I am pleased to report that, with the aid of Magistrate Judge Wettre, the parties have
agreed to a stipulation for an order of dismissal without prejudice to the plaintiff refiling

his claims in an appropriate state court in New York.

To that end, we have prepared a Stipulation and Order of Dismissal Without
Prejudice. If the same meets with Your Honor’s approval, we request that the Court so

Order and enter the same.

Should Your Honor have any questions, please feel free to contact me.

Respectfully yours,

Jardim, Meisner & Susser, P.C.

Kolo Wile

Kenneth L. Winters
encl.
cc: Hon. Leda Dunn Wettre, U.S.M.J. (w/encl.)
Tracey C. Hinson, Esq. (w/encl.)

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